Case 07-10416-BLS Doc 641-4 Filed 05/11/07 Page 1of 10

EXHIBIT C

Case 07-10416-BLS Doc 641-4 Filed 05/11/07 Page 2 of 10
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TELEPHONE (F429: FEO OSD) ,
FACSIMILE (840) 740-5900 |

May 1, 2007

CONFIDENTIAL: ATTORNEY-CLIENT
PRIVILEGED COMMUNICATION

ViA U.S. MAIL AND FACSIMILE TO:

Monika McCarthy, Esq.

New Century Financial Corporation
18400 Von Karman

Suite #1000

Irvine, CA 92612

Re: Engagement of Irell & Manella LLP

Dear Monika:

We are pleased that you have asked Irel! & Manella LLP (the "Firm”) to represcnt
New Century Financial Corporation and its subsidiaries and affiliates that are debtors in
possession in any of the jointly administered bankruptcy cases under Case No. 07-
10416(KIC) (collectively, the "Clients") with respect to various litigation and insurance
coverage matters. At this time, the request for assistance specifically encompasses advice
and representation with respect to defense of a class action lawsuit entitled Austin, et al. v.
Clients TRS Holdings, Inc. and the Clients’ insurance policies and insurance coverage. It is
anticipated by the parties that additional litigation, insurance and bankruptcy matlers may
present themselves. This letter, attached Standard Terms of Retention and the terms of the
application to employ the Firm shall gover the present representation and. unless
superseded in a signed writing, any othei matter the Firm may agree to undertake on the
Client's behalf.

The Firm's employment as special litigation and insurance counsel does not include
the provision of advice with respect to matters involving taxation, sccurities, environmental,
labor, criminal, real estate, or other specialized areas of law. Finally, the limited scope of our
employment as Client's special litigation and insurance counsel does not include giving
attention to, forming professional opinions as to, or advising you with respect to, disclosure
obligations under federal securities or other non-bankruptcy laws or agreements. Should
you decide to expand the scope of the Firm's representation with respect to this matter, a
separate written agreement and, potentially Bankruptcy Court approval, will be necessary.

The Firm's fees for legal services are based on the time spent working on the Client's
representation. The hourly rates of the Firm's professional staff range from 3575 to $790 for

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Case 07-10416-BLS Doc 641-4 Filed 05/11/07 Page 3 of 10

FRELL & MANELLA LLP

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Monika McCarthy, Esq.
May 1, 2007
Page 2

partners, $560 to $820 for of-counsel and senior counsel, $275 to $560 for associates. and
$110 to $350 in the case of litigation support and legal assistants. Some attorneys may have
higher rates than the schedule indicated here due to special expertise and other factors.
While we do not yet know the identity of all of the individuals that will be assigned to your
matters, I expect all of the work to be supervised by Kenneth Heitz. Ken's current rate is
$790 per hour. With respect to litigation matters, Ken is expected to be assisted by
Stephanie Kaufman and Glenn Vanzura. Their guideline hourly rates are $610 and 5365,
respectively. With respect to insurance matters, Ken is expected to be assisted by Marc
Maister and Brian Bark. Their guideline hourly rates are $780 and $530, respectively. The
hourly billing rates are adjusted periodically, and the applicable ratcs shall be those in effect
at the time the particular services are rendered. The Firm also separately charges for
expenses and other costs incurred in connection with rendering ils services, as described
more fully in the Standard Terms of Retention,

The Firm has agreed to forego payment of a retainer at this time given its
understanding that the Bankruptcy Court has adopted payment procedures that provide for
payment of eighty percent of fees and one hundred percent of costs on a monthly basis,
subject to a payment of additional allowed fees every four months. Should the procedure
not be applied to the Firm, or the allowance of fees and costs result in payment of {ees and
costs materially less than the amount invoiced for same, the Firm reserves the right to
withdraw from the representation of Clients and/or seek provision of an agreed-upon
retainer as a condition of its continued representation. Clients have agreed that they arc
jointly and severally liable for fees and expenses incurred on their mutual behalf.

You agree that (a) if I&M determines, in the exercise of its sole discretion, that an
actual conflict of interest has arisen between any of the Clients rendering it inappropriate for
I&M to continue its current joint representation; or (b) if any of the Clients determine to
withdraw from the joint representation for any reason, then 1&M shall have the authority to
file an application for guidance with the Bankruptcy Court concerning the scope of its
continued representation.

Because of the specialized nature of our bankruptcy practice, from time to time the
Firm concurrently may represent one client in a particular case and the adversary of that
client in an unrelated case, as summarized more specifically below. Please be assured that.
despite any such concurrent representation, we strictly preserve all client confidences and
zealously pursue the interests of each of our clients, including in those circumstances in
which we represent the adversary of an existing client in an unrelated case.

While representing Clients, the Firm may represent a debtor of Clicnts or of one or
more of its affiliates, or an entity in which Clients or one or more of their affiliates has made
an investment, as a debtor in a reorganization case or in connection with out-of-court
negotiations concerning the entity’s ability to pay its debts generally.

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Case 07-10416-BLS Doc 641-4 Filed 05/11/07 Page 4 of 10

IRELL & MANELLA LLP

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Monika McCarthy, Esq.
May 1, 2007
Page 3

The Firm will render to Clients periodic billings, typically monthly, for fees and
costs. The Firm also separately charges for expenses and other costs incurred in connection
with rendering its services, as described more fully in the Standard Terms of Retention. The
amounts reflected on the Firm's invoices are duc within 30 days of the date of each
statement.

Clients consent to our representation, in unrelated matters, of entities that may be
indebted to Clients or to one or more of their affiliates or in which Clients or one or more of
their affiliates might directly or indirectly own an equity interest. Clients also agree that
they do not consider such concurrent representations of Clients or their af filiates and any
such adversary to be inappropriate, and therefore waive any objections to any such present
or future concurrent representation. ,

The Firm, while representing Clients, also may represent a creditor or equity security
holders of Clients in a matter not involving Clicnts. The Firm also may represent a creditor
or equity security holders in a case involving a debtor that also is indebted lo Clients or their
affiliates, The pertinent debtor could be a debtor in a reorganization case or involved in out
of-court negotiations with ils creditors and intcrest holders.

Clients consent to our representation, in unrelated matters, of creditors of Clients in
connection with claims against or equity security interests in debtors other than Clients, or in
connection with claims asserted against or equity security interests in debtors that are also
indebted to Clients or their affiliates (or debtors in which Clients or their affiliates directly or
indirectly own an equity interest). Clients also agree that they it do not consider such
concurrent representations to be inappropriate, and it therefore waives any objections to any
such present or future concurrent representation.

Also, please note that several attorneys at the Firm have spouses, parents, children,
siblings, fiancés or fiancées who are attorneys at other law firms, companics and
government agencies. 1&M has strict policies against disclosing confidential information to
anyone outside the firm, including spouses, parents, children, siblings, flances and fiancées.
You agree that you do not consider our representation of you to be inappropriate in light of
any such relationships.

Conflict waivers are a serious matter, and it is our practice to recommend that clients
consult with independent counsel before agreeing to such a waiver. The foregoing
disclosures will also be made to the Bankruptcy Court.

Clients acknowledge and agree, by the signature of their authorized representative
below, that if the Bankruptcy Court docs not approve the representation described hercin,
then I&M will not be required to continue rendering services lo any or all of the Clients, as
1&M determines is appropriate under the circumstances.

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Case 07-10416-BLS Doc 641-4 Filed 05/11/07 Page 5of 10

IREILL & MANELLA LLP

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Monika McCarthy, Esq.
May 1, 2007
Page 4

Subject to the approval of the Bankruptcy Court, this agreement shall be effective as
of the date on which the Firm first rendered services to Clients.

Please note that the Standard Terms of Retention provide, with onc exception, that
any dispute between the Firm and Clients shall be determined by mandatory, binding
arbitration. The only exception is a dispute over fees or costs, because under California
Business & Professions Code section 620d{a) an attorney and client can only agree to
binding arbitration of a dispute over fees or costs after it has arisen. The Firm understands
that the Bankruptcy Court may instead decide to determine any such disputes.

We appreciate the confidence you have placed in us and we look forward to working
with you. ff this letter and the attached Standard Terms of Retention accu ately set forth our
mutual understanding, pleasc sign and date the enclosed copy and retum it to me

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Case 07-10416-BLS Doc 641-4 Filed 05/11/07 Page 6 of 10

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Monika McCarthy, Esq.
May 1, 2007
Page 5

THE CLIENTS HEREBY AGREE THAT THE TERMS AND CONDITIONS IN
THIS LETTER AND THE ACCOMPANYING STANDARD TERMS OF RETENTION
SHALL APPLY TO SERVICES RENDERED BY IRELL & MANELLA LLP ON THE
CLIENTS’ BEHALF.

BY SIGNING THIS AGREEMENT, AND AS FURTHER SET FORTH IN THE
ATTACHED TERMS OF RETENTION, THE CLIENTS ARE AGREEING TO BINDING
ARBITRATION OF DISPUTES (EXCEPT DISPUTES OVER FEES AND COSTS),
WHETHER AS TO QUALITY OF SERVICES RENDERED, THE ARBITRABILITY OF
THE DISPUTE, OR OTHERWISE, AND THE CLIENT IS GIVING UP THE RIGHT TO
AJURY OR COURT TRIAL. THE FIRM ENCOURAGES THE CLIENTS TO HAVE
THIS AGREEMENT REVIEWED BEFORE EXECUTION BY INDEPENDENT
COUNSEL ACTING ON THE CLIENTS’ BEHALF.

New Century Financial Corporation, on
behalf of itself and its subsidiaries and
its affiliates that arc debtors in
possession and jointly administered
under Case No. 07-10416 (KIC)

Dated:_ 373-0 v By: ‘|
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Case 07-10416-BLS Doc 641-4 Filed 05/11/07 Page 7 of 10

STANDARD TERMS OF RETENTION
OF FRELL & MANELLA LLP

Except as modified in writing by the accompanying engagement agreement or in another writing
signed by the Firm and the Client, the following provisions shail apply to the relationship between the Firm
and the Client: ,

L Fees, Fees for the Firm's ser’ ives shall be based on time spent and the hourly billing rates in
effect at the time that the services are performed. The billing rates of the Firm's attorneys, legal assistants.
clerks, und other timekeepers vary, depending generally on the experience and capabilities of the persons
involved, and the Firm adjusts these rates from time to time. The time for which the Client will be charged
includes, but is not limited to, time spent in telephone and office conferences with the Client and with other

- counsel, witnesses, consultants, court personnel and others; conferences among the Firm's legal personnel:
factual investigation; legal research; responding to the Clicnt's requests for the Firm to provide information to
auditors in connection with reviews or audits of financial statements; drafting of Jetters, agreements, pleadings.
briefs and other documents; traveling; waiting in court; and depositions and other discovery proceedings. [he
Firm's customaty practice is for each timekeeper to aggregate the activities performed on a given matter during
a particular day (1, time is not broken out for individual tasks where more than one task is performed ina
block of time), and the Client agrees that this practice is permitted. Moreover, the Firm may, in its good faith
discretion,

(a) consistent with a "tcum approach," use multiple personnel, including multiple
attorneys, on the same or similar activities and may charge for each individual involved in such activities.
including but not limited to (i) preparing for and attending depositions, (ii) preparing for und attending court
hearings, (iii) preparing for and attending meetings with the Client or others, or in conversations with the
Client or others, and (iv) engaging in intra-office conferences between and amonyst lawyers, paralegals, anc
others,

(b) perform and charge for legal research, as well as for subsequently performed iegal
research on the same topic, ,

{c) engage in and charge for summarization of transcripts of depositions and court
appearances by personnel or lawyers of the Firm's choice,

{d) engage in and charge for time expended on administrative and clerical activities
(including but not limited to time expended on copying and duplicating services, filing documents,
proofreading, retrieving documents from files, and organizing documents), even when legal knowledge fs not
required) in accordance with the Firm's standard practice,

2, Costs and In-House Services. in addition to fees, the Firm will bill, typically monthly, for
costs and expenses incurred and ancillary services provided such as photocopying, messenger and delivery
service, computerized research, travel (including mileage. parking, airfare, lodging, meals and ground
transportation), long-distance telephone. telecopying, word processing, secretarial overtime, coint costs and
filing fees. Certain of such items may be charged at more than the Firm's direct cost to cover its estimated
associated overhead, but will not include any administrative overhead. Unless spucial arrangements are made.
the Firm does not take responsibility for paying fees and expenses of third parties, which will be the CHent's
responsibility and may be billed directly to the Client.

3. Retainer. In addition to any retainer to which we have currently agreed. the Firm reserves
the right, as a condition 1o the provision of further services, to require an increase in the retainer in the event
that the amount of work which the Firm is called upon to perform, or expenses the Firm is required to incur or
advance excceds the Firm's current expectation, or in the event of any failure to make timely payment of the
Firm's invoices.

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Case 07-10416-BLS Doc 641-4 Filed 05/11/07 Page 8 of 10

4. Estimates Not Binding, Although the Firm may furnish estimates of fees or costs ihat are
anticipated will be incurred, these estimates shall not be binding, are subject to unforeseen circumstances. and
are by their nature inexact.

5. - Billing and Payment. Fees and expenses will generally be billed monthly and are due and
payable within 30 days of the date of our statement. The Firm expects prompt payment, The Firm reserves the
right to postpone or defer providing additional services or to discontinue the representation if billed amounts
are not paid when due.

6. Cooperation. The Client wil! cooperate fully in the Firm's efforts on the Client's behalf
7. Termination By The Client. The Client has the right at any time, in the Client's sole

discretion, to terminate the Firm's services and representation. Upon termination, the Client will remain
obligated to pay for all services rendered and costs or expenses paid or incurred on the Client's behalf prior to
the date of such termination or which are reasonably necessary thereafter.

8. Termination By The Firm. The Firm reserves the right to withdraw from representing the
Cent if, among other things, tf the Client fails to honor the terms of this engagement agreement, the Client fails
to make timely payment of any invoice, the Client fiils to cooperate or follow the Firm's advice on a material
matter, or any fact or circumstance arises that, in the Firm's view, renders our continuing representation
unlawful or unethical. Hf the Firm elects 10 withdraw, the Client will take all steps necessary to free the Firm ol
any obligation to perform further services, including the execution of any documents necessary to complete the
Firm's withdrawal, and the Firm will be entitled to be paid at the time of withdrawal for all services rendered
and costs and expenses paid or incurred on the Client's behalf.

9, Date Of Termination. The Firm's representation of the Client will be considered terminated
at the earlier of (i) the Client's termination of the representation, (ii) the Firm's withdrawal from the
representation, or (iii) the substantial completion of he Finm's substantive work for the Client.

10. Related Activities. If any claim or action is brought against the Firm or any of its personnel
based on the Client's negligence or misconduct, or if any employee of the Firm is asked or required to testify o1
produce documents as a result of the Firm's representation of the Client or must defend the confidentiality of
the Client's communications in any proceeding, the Client agrees to pay the Firm for any resulting costs or
damages, including the Firm's time, even if the Firm's representation of the Client has ended,

lk, No Guarantee of Outcome, The Firm does not and cannol guarantce any outcome in a
matter.

12. Client. The Firm's client for the purpose of its representation is only the petson or entity
identified as the Client in the engagement avreement accompanying these Standard Terms of Retention.
Unless expressly agreed in a signed writing, the Firm is not undertaking the representation of any related or
affiliated person or enlily, nor any parent, brother-sister, subsidiary, or affiliated corporation or entity, nor any
of their or the Client's officers, directors, agents, partners, or employees

13. Cooperation Relating to the Firm's Professional Responsibilities: Notice of Material
Client Events. The Client will cooperate with the Firm in efforts to comply vith the Firm's professional
responsibilities relating to the representation. including responsibilities relating to conflicts of interest as well
as other matters. Without limiting the foregoing, the Client (i) acknowledges that any change of control,
merger, consolidation, recapitalization, insolvency, bankruptcy, reorganization, acquisition or sale of material
assets or equity interests, or similar transaction or event involving the Client (any such transaction or event. a
“Material Client Event”) may have conflict-of-interest and other implications for the Firm's representation of
Client, and (ii) in order to provide the Firm with a reasonable opportunity to evaluate and address any such
implications adequately, the Client agrees to notify the Firm promptly in writing of any such Material Client
Event and to provide the Firm such information as it may reasonably request relating to such Material Clicnt
Event.

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Case 07-10416-BLS Doc 641-4 Filed 05/11/07 Page 9 of 10

14. Payment Notwithstanding Dispute. In the event of any dispute that relates 10 the Firm's
entitlement to any payment, all undisputed amounts shall be paid by the Client. Any amounts held by the Firm
in any trust account on the Client's behalf, sufficient to pay the disputed amounts, shall continue to be held in
such trust account until the final disposition of the dispute.

15. Decument Retention and Destruction. In the course of the l'irm's representation, the Firm
is likely to come into possession of copies or originals of documents or other materials belonging to the Cliem
or others (collectively, “materials"). Once the particular matter to which those materials relate has been
concluded, the Firm will have no further responsibility to maintain such materials. If the Client has not sought
the return of such materials within one year of the closing of the matter to which such materials relate, the Firm
will have the right to destroy those materials.

16, Attorneys' Lien. The Client hereby grants to ihe Firm a contractual lien pursuant to
California Civil Code Section 2881 on any and all claims or causes of action (and all proceeds thereof) that are
the subject of the Firm's representation of the Client. This attorneys’ lien will be for any sums duc and owing
to the Firm for its services and any amounts advanced by the Firm on the Client's behalf. This lien will attach
to any recovery that the Client may obtain, whether by arbitration, mediation, judgment. settlement or
otherwise. If requested by the Firm, the Client agrees to execute a financing statement (UCC-1} in connection
with the lien granted to us hereby.

17. Scope of Representation: Application To Subsequent Matters, The scope of the Firm's
representation of the Client is limited to the specific matter or matters identified in the accompanying
engagement agreement, and such additional matters as the Client and the Finm may in their mutual discretion
agree from time to time. In each case, the Firm's agreement to any expansion of the scope of its representation
of the Client will be subject, among other things, to such additional conflict checks, waivers, retainers.
approvals and other arrangements as the Firm may in its professional judgment deem necessary or appropriate
in the circumstances. Except as otherwise expressly provided in any written engagement agreement (or a
written amendment of a prior engagement agreement) between the Firm and Client entered into in connection
with such expansion of the scope of the Firm's representation, the agreement reflected in these Standard Terms
of Retention, and in the accompanying engagement agreement, applies to the Firm's current representation uf
the Client and to any subsequent matters that the Firm agrees to undertake on the Client's behalf

18. No Third-Party Beneficiaries. The Client acknowledges and aprees that there are no third-
party beneficiaries of any kind to the Firm's envagement.

19, No Modification Except By Signed Writing. No provision of the engagement agreement
or the Standard Terms of Retention can be waived, modified, amended, or supplemented except in a writing
that is siened by an authorized representative of the Firm and the Client.

20. Integrated Agreement. The engagement agreement and the Standard Terms of Retention
constitute the entire understanding and contract between the Client and the Firm with respect to the subject
matter referred te herein. Any and all other representations, understandings, or agreements, whether oral,
written, or implied, are merged into and superseded by the terms of the engagement letter and the Standard
Terms of Retention. ,

21. Headings. The subject headings used in the Standard Terms of Retention arc included for
purposes of convenience only, and shall not affect the construction or interpretation of any provisions of this
document.

22. Arbitration. CALIFORNIA BUSINESS & PROFESSIONS CODE
SECTION 6204{a) PROVIDES THAT AN ATTORNEY AND CLIENT CANNOT AGREE
TO MANDATORY AND BINDING ARBITRATION OF A DISPUTE CONCERNING
FEES OR COSTS BEFORE SUCH A DISPUTE HAS ARISEN. THE FIRM AND THE
CLIENT AGREE THAT ANY DISPUTE BETWEEN THEM, EXCEPT FOR A DISPUTE
CONCERNING THE FIRM'S FEES AND COSTS, REGARDING ANY MATTER

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Case 07-10416-BLS Doc 641-4 Filed 05/11/07 Page 10 of 10

RELATED TO OR ARISING OUT OF THE FIRM'S ENGAGEMENT BY THE CLIENT,
OR ANY PARTY'S PERFORMANCE OF THE AGREEMENT GOVERNING THE
FIRM'S SERVICES, INCLUDING THE QUALITY OF THE SERVICES THAT THE
FIRM RENDERS, SHALL BE RESOLVED BY CONFIDENTIAL ARBITRATION IN
LOS ANGELES, CALIFORNIA. WITHOUT LIMITING THE GENERALITY OF THE
FOREGOING, THE FIRM AND THE CLIENT AGREE THAT ALL QUESTIONS AS TO
WHETHER OR NOT AN JSSUE CONSTITUTES A DISPUTE SUBJECT TO
ARBITRATION UNDER THIS SECTION SHALL THEMSELVES BE RESOLVED BY
ARBITRATION IN ACCORDANCE WITH THIS SECTION 22. ANY AWARD SHALI.
BE FINAL, BINDING AND CONCLUSIVE UPON THE PARTIES, AND A JUDGMENT
RENDERED THEREON MAY BE ENTERED IN ANY COURT HAVING
JURISDICTION THEREOF. THE PREVAILING PARTY IN ANY ARBITRATION, OR
IN ANY LITIGATION BETWEEN THE PARTIES, SHALL BE ENTITLED TO
RECOVER REASONABLE ATTORNEYS' FEES AND COSTS FROM THE NON-
PREVAILING PARTY.

Arbitration may be demanded by the sending of written noticc to the other
party. If arbitration is demanded, within 20 days of the demand the Client shall present a list
of 5 qualificd individuals who would be willing to serve that (he Client would find
acceptable to act as arbitrator. To serve as arbitrator, the individual must be a rétired judge
having served on any federal court or the California Superior Court or higher court in the
State of California. Within 20 days of receiving the Client's list, the Firm may at its sole
discretion (i) select any individual from that list and that individual shall serve as the
arbitrator, or (i) propose the Firm's own list of 5 individuals for arbitrator. Ifthe Firm
chooses to present a separate list, the Client may within 20 days select any individual from
that list and that person shall serve as arbitrator. Ifno arbitrator can be agreed upon at the
end of this process, each party shall select one individual from such party's own respective
list and those two persons shall jointly select the arbitrator. The arbitration shall be
conducted pursuant to the procedures set forth in the California Code of Civil Procedure
§§ 1280, et seq., and in that connection the Firm and the Client agree that Section 1283 05
thereof is applicable to any such arbitration.

In the event of any failure to select an arbitrator pursuant to the process
described in the preceding paragraph (including, but not limited to any failure to participate
in that process), the Finn and the Client reserve the right either (i) to enforce the arbitration
agreement in any court having jurisdiction or (ii) submit the dispute to either the American
Arbitration Association ("AAA") or JAMS ("JAMS") for resolution in accordance with their
applicable rules, to the extent that those rules are not inconsistent with the procedures sct
forth in the California Code of Civil Procedure §§ 1280, ef seq., and in that connection the
Firm and the Client agree that Section 1283.05 thereof is applicable to any such arbitration.
In addition, the arbitrator in any proceeding submitted to the AAA or JAMS must be a
retired judge having served on any federal court or the California Superior Court or higher
court in the State of California.

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